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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Norfolk Division

                                              )
SYMBOLOGY INNOVATIONS, LLC,                   )
                                              )
                      Plaintiff,              )
v.                                            )
                                                         Civil Action No. 2:17-cv-00086
                                              )
LEGO SYSTEMS, INC.,                           )
                                              )
                      Defendant.              )
                                              )
                                              )


             DEFENDANT LEGO SYSTEMS, INC.’s MOTION TO DISMISS

       Defendant LEGO Systems, Inc. (“LSI”), by counsel, respectfully moves this Court to

dismiss the Complaint for Patent Infringement (Dkt No. 1.) (“Complaint”) pursuant to Federal

Rule of Civil Procedure 12(b)(6) for failure to state a claim upon which relief can be granted.

The grounds for this motion are more fully set forth in LSI’s Memorandum in Support of Motion

to Dismiss, which is filed herewith.

                                                   LEGO SYSTEMS, INC.


                                                   By           /s/
                                                          Of Counsel

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 3rd day of April , 2017, I electronically filed the foregoing

with the Clerk of Court using the CM/ECF system, which will send a notification of such filing

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